                 Case 2:22-cv-09230-GW-GJS      Document
                               UNITED STATES DISTRICT COURT,2CENTRAL
                                                               Filed 12/20/22
                                                                     DISTRICT OFPage 1 of 3 Page ID #:35
                                                                                CALIFORNIA
                                                                             CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                     )         DEFENDANTS                 ( Check box if you are representing yourself                   )

MICHELLE STERIOFF, individually and on behalf of all others similarly situated                LIVE NATION ENTERTAINMENT, INC., and TICKETMASTER, LLC


(b) County of Residence of First Listed Plaintiff                                            County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES)                                                             (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                           Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                         representing yourself, provide the same information.
Lisa T. Omoto, FARUQI & FARUQI, LLP
1901 Avenue of the Stars, Ste. 1060
Los Angeles, CA 90067
Telephone: (424) 256-2884
II. BASIS OF JURISDICTION (Place an X in one box only.)                             III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                          (Place an X in one box for plaintiff and one for defendant)
                                                                                                                  PTF         DEF                                            PTF       DEF
    1. U.S. Government                  3. Federal Question (U.S.                                                       1           1   Incorporated or Principal Place            4         4
                                                                                    Citizen of This State
    Plaintiff                           Government Not a Party)                                                                         of Business in this State
                                                                                    Citizen of Another State            2           2   Incorporated and Principal Place           5         5
                                                                                                                                        of Business in Another State
       2. U.S. Government               4. Diversity (Indicate Citizenship          Citizen or Subject of a
                                                                                    Foreign Country                     3           3 Foreign Nation                               6         6
       Defendant                        of Parties in Item III)

IV. ORIGIN (Place an X in one box only.)
                                                                                                                                                6. Multidistrict        8. Multidistrict
       1. Original        2. Removed from           3. Remanded from         4. Reinstated or         5. Transferred from Another                  Litigation -            Litigation -
         Proceeding          State Court               Appellate Court          Reopened                 District (Specify)                        Transfer                Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                   Yes           No      (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                        Yes         No                         MONEY DEMANDED IN COMPLAINT: $ >5,000,000
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
CAL. CIV. CODE § 1750, et seq, Intentional Misrepresentation, Common Law Fraud, Fraudulent Inducement, Antitrust Violations, CAL. BUS. & PROF. CODE § 17500 et seq.,
CAL. BUS. & PROF. CODE § 17200 et seq., Quasi-Contract/Restitution/ Unjust Enrichment

VII.       NATURE OF SUIT (Place an X in one box only).
       OTHER STATUTES                CONTRACT             REAL PROPERTY CONT.                IMMIGRATION                    PRISONER PETITIONS                     PROPERTY RIGHTS
       375 False Claims Act        110 Insurance               240 Torts to Land             462 Naturalization               Habeas Corpus:                  820 Copyrights
                                                                                             Application                     463 Alien Detainee
    376 Qui Tam                    120 Marine                   245 Tort Product                                                                              830 Patent
    (31 USC 3729(a))                                            Liability                  465 Other                         510 Motions to Vacate
                                   130 Miller Act               290 All Other Real         Immigration Actions               Sentence                         835 Patent - Abbreviated
    400 State                                                                                                                530 General                      New Drug Application
    Reapportionment                                             Property                       TORTS
                                    140 Negotiable                                                                           535 Death Penalty
    410 Antitrust                   Instrument                      TORTS                PERSONAL PROPERTY                                                    840 Trademark
                                    150 Recovery of           PERSONAL INJURY                                                    Other:                       880 Defend Trade Secrets Act
       430 Banks and Banking                                                               370 Other Fraud
                                    Overpayment &              310 Airplane                                                  540 Mandamus/Other               of 2016 (DTSA)
       450 Commerce/ICC             Enforcement of                                           371 Truth in Lending
                                                               315 Airplane                                                                                        SOCIAL SECURITY
       Rates/Etc.                   Judgment                   Product Liability                                             550 Civil Rights
       460 Deportation                                                                       380 Other Personal
                                    151 Medicare Act           320 Assault, Libel &          Property Damage                 555 Prison Condition             861 HIA (1395ff)
       470 Racketeer Influ-                                    Slander
       enced & Corrupt Org.         152 Recovery of                                          385 Property Damage                                              862 Black Lung (923)
                                                               330 Fed. Employers'                                        560 Civil Detainee
                                    Defaulted Student                                        Product Liability            Conditions of
       480 Consumer Credit                                     Liability                                                                                      863 DIWC/DIWW (405 (g))
                                    Loan (Excl. Vet.)                                         BANKRUPTCY                  Confinement
       485 Telephone                                           340 Marine                                                                                     864 SSID Title XVI
       Consumer Protection Act     153 Recovery of                                           422 Appeal 28              FORFEITURE/PENALTY
                                                               345 Marine Product            USC 158
       490 Cable/Sat TV            Overpayment of              Liability                                                 625 Drug Related                     865 RSI (405 (g))
                                   Vet. Benefits                                             423 Withdrawal 28           Seizure of Property 21
       850 Securities/Com-                                     350 Motor Vehicle             USC 157                     USC 881                                   FEDERAL TAX SUITS
       modities/Exchange           160 Stockholders'
                                   Suits                       355 Motor Vehicle              CIVIL RIGHTS                690 Other                           870 Taxes (U.S. Plaintiff or
       890 Other Statutory                                     Product Liability                                                                              Defendant)
       Actions                      190 Other                                                440 Other Civil Rights                 LABOR
                                                               360 Other Personal                                                                             871 IRS-Third Party 26 USC
       891 Agricultural Acts        Contract                   Injury                        441 Voting                      710 Fair Labor Standards         7609
                                                                                                                             Act
    893 Environmental              195 Contract                362 Personal Injury-
                                   Product Liability           Med Malpratice                442 Employment                  720 Labor/Mgmt.
    Matters                                                                                  443 Housing/                    Relations
    895 Freedom of Info.           196 Franchise               365 Personal Injury-
                                                               Product Liability             Accommodations
    Act                                                                                                                      740 Railway Labor Act
                                   REAL PROPERTY                                             445 American with
       896 Arbitration                                         367 Health Care/                                              751 Family and Medical
                                   210 Land                    Pharmaceutical                Disabilities-
    899 Admin. Procedures                                                                    Employment                      Leave Act
                                   Condemnation                Personal Injury
    Act/Review of Appeal of                                    Product Liability             446 American with               790 Other Labor
                                   220 Foreclosure
    Agency Decision                                                                          Disabilities-Other              Litigation
                                                               368 Asbestos
    950 Constitutionality of       230 Rent Lease &            Personal Injury                                               791 Employee Ret. Inc.
                                                                                             448 Education
    State Statutes                 Ejectment                   Product Liability                                             Security Act

FOR OFFICE USE ONLY:                     Case Number:                                  2:22-cv-9230
CV-71 (10/20)                                                                   CIVIL COVER SHEET                                                                          Page 1 of 3
                Case 2:22-cv-09230-GW-GJS      Document
                              UNITED STATES DISTRICT COURT,2CENTRAL
                                                              Filed 12/20/22
                                                                    DISTRICT OFPage 2 of 3 Page ID #:36
                                                                               CALIFORNIA
                                                                                 CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                     INITIAL DIVISION IN CACD IS:
                    Yes         No
                                                         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                 Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.              Riverside or San Bernardino                                                                         Eastern



QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                             YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                              Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the          YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino               Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.
                                                                                                                A.                         B.                             C.
                                                                                                                                    Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                    Orange County                Bernardino County            Santa Barbara, or San
                                                                                                                                                                 Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                D.1. Is there at least one answer in Column A?                                                 D.2. Is there at least one answer in Column B?
                                        Yes              No                                                                           Yes            No
                    If "yes," your case will initially be assigned to the                                         If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                  Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                           If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                 Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                               INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                                WESTERN

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                    Yes              No
 CV-71 (10/20)                                                                     CIVIL COVER SHEET                                                                      Page 2 of 3
                Case 2:22-cv-09230-GW-GJS      Document
                              UNITED STATES DISTRICT COURT,2CENTRAL
                                                              Filed 12/20/22
                                                                    DISTRICT OFPage 3 of 3 Page ID #:37
                                                                               CALIFORNIA
                                                                             CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                         NO                  YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                     NO                  YES
        If yes, list case number(s):


        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): s/ Lisa T. Omoto                                                                                    DATE: 12/20/2022

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




CV-71 (10/20)                                                                  CIVIL COVER SHEET                                                                   Page 3 of 3
